Case 2:04-cv-02700-.]DB-dkv Document 18 Filed 07/12/05 Page 1 of 2 Page|D 44

Fii.ED BY _____ D_c_
UNITED STATES DISTRICT COURT

WESTERN DISTRICT 0F TENNESSEE 05 JUL ' 2 AH 851-1

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ALLISON DEVANTE JUDGMENT IN A CIVIL CASE
and JOREAL DEVANTE,
Plaintiffs,
v.
LES BROWNLEE, in his official CASE NO: 2:04-2700-B

capacity as Secretary of the Army,

Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

lT IS SO ORDERED AND AD.IUDGED that in accordance with the Order Granting
Defendant’s Motion To Dismiss entered on July 7, 2005, this cause is hereby dismissed.

 

THOMAS M. GOLI.D

Clerk of Court

(By) Deputy Clerk

 

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This notice confirms a copy of the document docketed as number 18 in
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Honorable J. Breen
US DISTRICT COURT

